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                EXHIBIT 19
                                Case 3:23-cv-04804-WHA Document 121-21 Filed 09/25/24 Page 2 of 11




                        Web Data Collection Report
Page Title
Locking a Container to a Service Location I Compology Help Center

URL
https://help.compology.com/en/articles/3604037-locking-a-container-to-a-service-location

Collection Date
Mon Aug 12 2024 12:18:02 GMT-0400 (Eastern Daylight Time)

IP Address
172.27.0.1

Browser Information
Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/127.0.0.0 Safari/537.36

Digital Signature (SHA256 / PKCS#1v1.5)
7ac3c5cc8227316597fb5fb306a4cea501b3d1233befa750c8d71c96125e389031e6ac913
41386cf7c94fff345596375fc569434893ce2cec8742d6971029d1b55d077e28f41cf6753
2a351a2ef47a81e9d51c6ae0a1408bcfc70e81ffd6513f98df68cecfb3973cd2a15874af0
e110855b6fed46080b8a89e991295d7eddd21e0862490b07a2e91f52829dc9326a15f704a
b497b85ae9c36710515cb8116b67e1954f7844277ca338b76edeba0f47a1d4Ode19e59b98
d84afaf0f4298288adfb395d33fb41f61c224b0a8ebb38a408ef8d7b361cf7ef595e878c0
8fcab3341309e6e9360c3ea37065ce4428dc09f22d65f774ef2764bcca7c524c8287e12a
54




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                               Case 3:23-cv-04804-WHA Document 121-21 Filed 09/25/24 Page 3 of 11




                                               Fil Signatures
SCREEN CAPTURE

MHTML
File Name
https-help.compology.com-en-articles-3604037-locking-a-container-to-Aug-12-24-12-18-02-GMT-0400-(EDT).mhtml

Hash (SHA256)
2298c9bcf17fe95610b08a47a0c5be38438f2f52f0e3bcc3456e68945da86f3e

Signature (PKCS#1v1.5)
25fdbf985598ce43a610a3dd1d607d5d8d8ba2ffbe224594282f0890050b9df5f0388158
6ca9bb9f49812cbdabd1e302fa1f42fb5da7c6afbb5332b16d8c22d7e863027e3449aabe
9abccObb3a02380d36a4a1ce60707a715affb92895e2Oec5760d351c4cf2620b328f1401
1c18cd0507fe0c7bca62f51b3a9638c16a6d352660d888240177e6e3d43a77046a78dc78
bae5bc5f2c4d06a91018d186e328262075e87253f70f2c820bb9dc5ae74dacf51afb8d44
256b8acd1db3fc4b32d14870b98a9f7Odd87252ae70d7546777c8274955a87044bb2388
864161f971f8def56ece2210b8e8bba521f908b9e8ec8c5d8ea676c045daf3942b69285d
5056dabda




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                                         Case 3:23-cv-04804-WHA Document 121-21 Filed 09/25/24 Page 4 of 11

                                                     Compology Help Center                                                                                              English




                                                       0, Search for articles...




                                                                          At Collections > Compology 101 > Locking a Container to a Service Location




                                                                          Locking a Container to a Service Location
                                                                          When a container is cit.- t to one or more service locations, locking it to a location will
                                                                          ensure a proper match

                                                                                   Written by Dana Beck
                                                                                   Updated over a week ago



                                                                          Compology employs machine learning to match your containers GPS coordinates to a
                                                                          Customer's Service Location. When a container is positioned near one or more service
                                                                          locations, it is sometimes necessary to instruct the machine which location the container
                                                                          should match to. Our "soft-Lock' feature allows you to 'lock' a container to the
                                                                          appropriate location. This lock- will stay in place until Compology detects that the
                                                                          container has moved to a position that rationally could not be associated to the
                                                                          previously 'locked" location.


                                                                          To lock a container to a nearby location, click on a container, click "View Map" and click
                                                                          'Open Location Settings':


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GMT-0400-(EDT)_0.jpg
                                                                                                                                  Timestamp
Hash (SHA256)                                                                                                                     Mon Aug 12 202412:18:02 GMT-0400 (Eastern Daylight Time)
515d9d429429e0afa849262cce7b2d20b9f9faa477b8c63b8c54b6646b65d639

Signature (PKCS#1v1.5)
3b385cb4db99bbe3312d1d9175c153be86b8d88eaff07Offa62e9acba7028d04c34a5cb38c2083682b
6234a2eec2b4900bb0d6ac7ec76578fab4805cac295bb3a682af3c73ecf6c118442d891683127fccf9
6f7779d31a8d797ee8206531f907652cbdOedf662a99984b55c0b6e99cbec8a2cd129654b696d665a5
de137ee7163cc474fea46dd141a6b5fd93ea4b020b2c1b29ccafdbf23fc8e45fa6e24aafdbcb34dc3bd
b8b69e913547be2f8e2f2c49017aac060edb96840201fa6a4c94fe7ae7a881851dd0c3befef9e8bfdd9
6d6c6f6ca8e1ea8418c2faf8c3665f69f18ed6d968200dad624c37f5dc47d9b092951fd3ea97944eff6
7ce239361b17cb743




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                                                                    The locations that the container can be locked to will be displayed. If the last post for the
                                                                    container does not have GI'S coordinates, you can search which location you would like to
                                                                    lock it to. Select the location to lock the container to it. It is also advised to edit the deo-
                                                                    fence of each location to make them as accurate as possible:




                                                                      We cannot confitently determinewh.chlaation this container is located at. Either soft-lock the container to one of the below
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3fc15c7445ff019b2ed142ff26f93ce72574823fcf73967516e3086032ff3160

Signature (PKCS#1v1.5)
2d4ea545ed86d4ca b2e40a8ca bc61451d48fa6712696f35502e85900b4cc8601ad4ff2f776ec935e4c
8dObfdd0a8702a12165866c475f34223a00faeaaf4cc6e7e88cc38b5f9ff76aea8895a608533ccd761
2493d65d2277ddcc8999347c08f3616393964db823cd38e5570006fe04313fd39fd332c4a35fd93dc3
616adf2fdd2d0a82cfebccfa05fa283cdb41f498a7b4d1cccdOee2ae7f1700104997f67a7ab0950025
dee9cccb5e8c7eb97246c9b6c67e99d4e3f0f5b97eeb4fca4a6225f9b34879730f96ae0f04e197af1
5892e24d05e2debc7de7e58fa92db8f5197d0e304d3152a9677c4e54a3b8Ocb44835d252b3252129d
385bc4f217fa5141461fcf




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                                                                    Once locked to a location, the container will continue to be matched to that location for
                                                                    all following posts until the geo-coordinates of the container changes to be 1000 meters
                                                                    from the perimeter of the location it was locked to. This applies to the Data Download
                                                                    and API interfaces as well. It is important to note that if a container posts without gen
                                                                    coordinates, those posts will get matched to its locked location. This is great for sites
                                                                    where GPS coordinates are intermittent, but it is a possible a container has been moved
                                                                    1,1 a Site that does riot yeL GPO cool dinates arid die lock would not break.



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GMT-0400-(EDT)_2.jpg
                                                                                                                                           Timestamp
Hash (SHA256)                                                                                                                              Mon Aug 12 202412:18:02 GMT-0400 (Eastern Daylight Time)
e663f82d725054de1320873fa54ff813ff03a1e551f37d312209ab165e63f28d

Signature (PKCS#1v1.5)
6a0c848875c00743d3cfdd7a52634ebc701e8627c69fcba90b7c334dcf08dab7170a5fb62b39f4bd1d
3b4d67cf58bfcaf7e2b1912320d36cf705963dc502ed7aa1d8b667cd079780490e6ec8Odb6e8985086
c2e7294a2cc19a713a9a7a9bbf4d76d2b5376a4ee0590376db6a3f788f375e42bd4fe52c84321782b6
be5ff841eddaf8e105b5bea17657ec781569328bed7fd7fa1bb9ccf72bc0Oca7e1e79a2ecffb2eaeae9
5b816b72e6484f5dc52173199b01c9ab4fc94024b557f349a86a9ca49ac621036a57ad9e317a4fa3bc8
8debe48b11flac53519095de59df75111101b51e6031f6014e563f5ea9233c7e9Obad93bdec46db74d0
34647d48ca9cc1fae




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GMT-0400-(EDT)_3.jpg
                                                                                                                     Timestamp
Hash (SHA256)                                                                                                        Mon Aug 12 202412:18:02 GMT-0400 (Eastern Daylight Time)
47d273151297f0d1e0a42f42328c4cd597e5eb6464a94a1ca1b06ab98ee2f668

Signature (PKCS#1v1.5)
6e0037de618453baf31500b0816f1b872faf116f03329d6052cd8193e3d8e77e4668e4a43ca80f9ea
0779657235551253dc174d25a7a97a85fb729c1c126da64220eb32babf486c169061eae963b3914b0
90c116268ce7b1356321fa6d5359907e49d42fbb14177b99db7463fb89222073ded490be261126953
Oedcc7cdcf1b3b72fb92d0e7d56b970d3470633ece2b76a4c114572c513c1037237925a2383d89cf
5c72a41516d5de8657ef97eafd26e3b3622dbc7142137495f7bbfc368328823bOba8db5b9cc05cba
9c12180903ce5e066962a8c32dd2c92698a7cceb6752f1bb87378da57aaa8300550e1fd971319386fd
70eb056e0f979d8f0a52d33bad346




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 Compology Help Center                                                                                                :D., English •••




   Q Search for articles...



                     At CoRectioris > Compology 101 > Locking a Container to a Service Location



                     Locking a Container to a Service Location
                     When a container is close to one or more service locations, locking it to a location will
                     ensure a proper match.

                              Written by Dana Beck
                      111, Updated over a week ago

                     Compology employs machine learning to match your container's UPS coordinates to a
                     Customer's Service Location. When a container is positioned near one or more service
                     locations, it is sometimes necessary to instruct the machine which location the container
                     should match to. Our "Soft-Lock' feature allows you to "lock" a container to the
                     appropriate location. This "lock" will stay in place until Compology detects that the
                     container has moved to a position that rationally could not be associated to the
                     previously 'locked' location.


                     To lock a container to a nearby location, click on a container, click "View Map' and click
                     "Open Location Settings":




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           The locations that the container can be locked to will be displayed. If the last post for the
           container does not have GPS coordinates, you can search which location you would like to
           lock it to. Select the location to lock the container to it. It is also advised to edit the geo-
           fence of each location to make them as accurate as possible:


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             We cannot confielentlydetermine which location this container is located at. Either soft-lock the container to ore of the below
             loartionsuAthIn 2pcso or adjust the potencies to more accurately represent the service locations Warn more


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Case 3:23-cv-04804-WHA Document 121-21 Filed 09/25/24 Page 10 of 11




               LOCATION A        5        LOCATION 13      a        LOCATION C       5     NOT AT ANY OF THESE LOCATIONS


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            Once locked to a location, the container will continue to be matched to that location for
            all following posts until the geo-coordinates of the container changes to be 1000 meters
            from the perimeter of the location it was locked to. This applies to the Data Download
            and API interfaces as well. It is important to note that if a container pasts without geo-
            coordinates, those posts will get matched to its locked location. This is great for sites
            where GPS coordinates are intermittent, but it is a possible a container has been moved
            to a site that does not get GPS coordinates and the lock would not break.


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